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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

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HANGANG GLOBAL SHIPPING CO., LTD.,

Plaintiff,
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Vv. Civil Action No. D4 ay Ald {V7
DELTA CORP SHIPPING PTE LTD,
Defendant,
and
DELTA CORP LOGISTICS USA LLC,

Garnishee.
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[PROPOSED] ORDER FOR
(i) AN ORDER AUTHORIZING ISSUANCE OF PROCESS OF MARITIME
ATTACHMENT AND GARNISHMENT, (ii) LEAVE TO DEEM SERVICE
CONTINUOUS, AND (iii) LEAVE TO SERVE LATER IDENTIFIED GARNISHEES

UPON READING Plaintiff HANGANG GLOBAL SHIPPING CO., LTD.’s (‘““Hangang”
or the “Plaintiff’) Verified Complaint and Ex Parte Motion for (i) an Order Authorizing Issuance
of Process of Maritime Attachment and Garnishment, (ii) Leave to Deem Service Continuous, and
(tii) Leave to Serve Later Identified Garnishees, the Court finds that the conditions for an action
under Rule B of the Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture
Actions to the Federal Rules of Civil Procedure (“Rule B”’) appear to exist.

IT IS HEREBY ORDERED, ADJUGDED AND DECREED that the Clerk of Court is
authorized to issue a Writ of Attachment and Garnishment as prayed for in the Verified Complaint;

IT IS FURTHER ORDERED that a copy of this Order be attached to and served with the

said Writ of Attachment and Garnishment;
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IT IS FURTHER ORDERED that the Clerk of Court is authorized to issue a Writ of
Attachment and Garnishment over the property, funds, goods, chattels, credits and/or effects of
defendant Delta Corp Shipping Pte Ltd (“Delta Corp” or the “Defendant’”) located within the
District, including any funds in the District that are in the care, custody, and control of garnishees,
including but not limited to Delta Corp Logistics USA LLC (“Delta USA”), who are hereby
ordered to refrain from releasing or otherwise utilizing or disposing of any tangible or intangible
property belonging to Delta Corp that is now or comes into their care, custody, or control;

IT IS FURTHER ORDERED that in order to avoid the need to repetitively serve the
garnishee(s) continuously throughout the day, any copy of the Process of Maritime Attachment
and Garnishment that is served on any of the garnishees herein is deemed effective and continuous
throughout any given day, and subsequent service of process is authorized via facsimile or email
following initial in personam service;

IT IS FURTHER ORDERED that Hangang is authorized to serve any additional
garnishee(s) who may obtain during the course of this litigation, are holding, or are believed to be
holding, property of Delta Corp; and

IT IS FURTHER ORDERED that Hangang agrees to release and hold harmless, and
indemnify the United States of America, the United States Marshal, their agents, servants,
employees, and all others for whom they are responsible from any and all liability or responsibility

for claims arising from the arrest or attachment of the property.

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Wilmington, Delaware, thishY of December, 2024.
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UNITED SEATES DISTRICT JUDGE

